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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION


UNITED STATES OF AMERICA
                                             *               CRIMINAL NO. W20-141M
vs.

CECILY ANN AGUILAR

                                WRIT OF HABEAS CORPUS
                                  AD PROSEOUENDUM

TO: SHERIFF, BELL COUNTY, TEXAS

GREETINGS:

       You are hereby commanded to surrender and deliver unto the United States Marshal for
the Western District of Texas, or his duly authorized representative, the body of CECILY ANN
AGUILAR a prisoner in your custody, for appearance in the Federal Court located at 800
Franklin Avenue in Waco, Texas on the 6th day of July, 2020, at 11:00 a.m., and there to
remain in the custody of the said Marshal, or his duly authorized representative, during the
hearing in the above-styled cause and, upon termination of such hearing, to return the said
CECILY ANN AGUILAR to the custody of SHERIFF, BELL COUNTY, TEXAS.

This Writ shall be your warrant and authority in the premises, and the Clerk of this Court is
hereby directed to cause to be delivered to you a copy of this Writ and a certified copy of the
Order directing the issuance for your observance

       HEREIN, FAIL NOT, but make due return of this Writ.

        WITNESS the Honorable JEFFREY C. MANSKE, U. S. Magistrate Judge, Western
District of Texas, Waco Division, and the Seal of this Court hereto affixed this 2MJay of July,
2020.

                                                     JEANNETTE      J.   CLACK, C


                                                      By:
                                                      Akeita Mihael       'd   \J

                                                      Deputy Clerk
